 

 

 

- Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 1 of 37
UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF FLORIDA
-USBC: FLS-MIA
www. fisb.uscourts.gov rie RG @ pv:03

Ih eYAsnnin LOL caseno. 2: (9690

Chapter ‘7
Debtor

DEBTOR’S NOTICE OF COMPLIANCE WITH REQUIREMENTS FOR AMENDING
' CREDITOR INFORMATION .

This notice is being filed in accordance with Local Rules 1007-2(B), 1009-1(D), or 1019-1(B) upon the filing of an amendment
to the debtor's lists, schedules or statements, pursuant to Bankruptcy Rules 1007, 1009, 1019 or 5010-1(B). 1 certify that:

[ } The paper filed adds creditor(s) as reflected on the attached list (include name and address of each creditor being

added). | have: ;

1. remitted the required fee (unless the paper is a Bankruptcy Rule 1019(5) report);

2. provided the court with a supplemental matrix of only the added creditors on a CD or memory stick in
electronic text format (ASCil or MS-DOS text), or electronically uploaded the added creditors in CM/ECF;

3. provided notice to affected parties, including service of a copy of this notice and
a copy of the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of
service in compliance with the court [see Local Rule 2002-1 (F)]:

4. filed an amended schedule(s) and summary of schedules; and

5. if adding creditors pursuant to Local Rule 5010-1(B), filed a motion to reopen accompanied by the required

filing fee.

{ ] The paper filed deletes a creditor(s) as reflected on the attached list (include name and address of each

creditor being deleted). | have:

1. remitted the required fee;

2. provided notice to affected parties and filed a certificate of service in compliance with the court [see
Local Rule 2002-1(F)]; and

3. ~° filed an amended schedule(s) and summary of schedules.

 

.f ] The paper filed corrects the name and/or address of a creditor(s) as reflected on the attached list. | have:
provided notice to affected parties, including service of a copy of this notice and a copy of
the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certificate of service
in compliance with the court [see Local Rule 2002-1(F)]; and

2. filed an amended schedule(s) or other paper.

{ ] The paper filed corrects schedule D or E/F amount(s) or classification(s). | have:

1. remitted the required fee;
2. provided notice to affected parties and filed a certificate of service in compliance with the court [see Local

Rule 2002-1(F)]; and
3. filed an amended schedule(s) and summary of schedules.

Ue None of the above apply. The paper filed does not require an additional fee, a supplemental matrix, or notice to
affected parties. It o does a does not require the filing of an amended schedule and summary of schedules. -

| also certify that, if filing amended schedules, Bankruptcy Form 106 “Declaration About an Individual Debtor's Schedules”
(signed by both debtors) or Bankruptcy Form 202 , “Declaration Under Penalty of Perjury for Non-Individual Debtors” has
been filed as required by Local Rules 1007-2(B), 1009-1(A)(2) and (D)(1)}, or 1019-1(B).

 

 

 

hn? De ay se) fo Joint Debtor (if applicable)
Cian KA
/

Print Name Address

 

 

Florida Bar Number ‘ Phone Number

LF-4 (rev. 12/01/15)
 

 

Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 2 of 37

Fill in this information to identify your case: FILED-USBC; FLS-HIA
Debtor 1 Le nit 19 AUG 9 pxd:04

 

fist Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for ners Orthenn District of Fy lonQhior
Case number 1[9- [Vp FO UC) Check if this is an

(if known) amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out anew Summary and check the box at the top of this page.

REET summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B) O
1a. Copy line 55, Total real estate, from Schedule A/B ............cccccceccccssseeesneeseeceneeaeecanssaeeasenaesneeenseseessneretseaeseesaesnaeeagenseeateas $

1b. Copy line 62, Total personal property, from Schedule A/B............c ccc cree secs ecesenseenecneceecereeeassucsueanesecaneagsassaneaneaeags $ & 3, MW. ZB

1c. Copy line 63, Total of all property on Schedule A/B ooo... ceccseeneeeececeetsessevseveeenereesanesssseaecusssesnesnaeesaesaseeaseceeseneesnees § Ss / J /:
Pr Summarize Your Liabilities

 

 

 

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) L
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D $

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from fine 6e of Schedule E/F $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F

 

Your total liabilities $

 

 

 

| Part 3: Summarize Your Income and Expenses

4. Schedule I: Your Income (Official Form 1061) / FSO
Copy your combined monthly income from line 12 of Schedule | $

5. Schedule J: Your Expenses (Official Form 106J) 5, 57 7
Copy your monthly expenses from line 22c of Schedule J oo... eccccecceeecceceeeceseeseseeeeneesaeeesaeeesaeeceecesaueeceeeeeaeesneeecseeseeeeatess $ Z

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
 

Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 3 of 37

Debtor 1 Case number (i known)
First Name Middle Name Last Name

Ey Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

ad You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

7. What kind of debt do you have?
Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

U) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11, OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) s OO

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ ©

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ a,

9d. Student loans. (Copy line 6f.) $ TS) 7@/

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ C
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ O

 

 

 

9g. Total. Add lines 9a through 9f. $ 7 3, Hol

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 4 of 37

Fill in this information to identify your case and this filing:

Debtor 1

 

Middle Name Last Nafie

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Dythen Woistrict of 7 iit a (Aa
Case number / ?- 14070

 

C) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

| Part 4: | Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. en own or have any legal or equitable interest in any residence, building, fand, or similar property?

No. Go to Part 2.
O) Yes. Where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

} { Q Single-family home the amount of any secured claims on Schedule D:

14. Creditors Who Have Claims Secured by Property.

 

 

Q) Duplex or multi-unit buildin
Street addr¢ss, if available, or other description P unalng

 

 

 

 

 

 

C2 Condominium or cooperative Current value of the Current value of the
QQ Manufactured or mobile home entire property? portion you own?
Q) Land $ $
C) investment property
- CL) timeshare Describe the nature of your ownership
City State ZIP Code QO oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
QI Debtor 1 only

County L) Debtor 2 only

C1 Debtor 1 and Debtor 2 only L) Check if this is community property
(} At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
N tt QO) Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

4.2. Q \ ‘-unit buildi Creditors Who Have Claims Secured by Property.
Street addre&s, if available, or other description Q Duplex or mult un uilding
Condominium or cooperative Current value of the Current value of the
O) Manufactured or mobile home entire property? Portion you own?
CO) Land $ $
C2 investment property
Ot hare Describe the nature of your ownership
City State ZIP Code QO other interest (such as fee simple, tenancy by
er

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

() Debtor 1 only

 

 

 

County C1 Debtor 2 only
(J Debtor 1 and Debtor 2 only O Check if this is community property
O) At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1

 
 

Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 5 of 37

Debtor 1

 

First Name

NIA

Middle Name

Last Name

 

 

Street address, if available, or other description

 

 

City State

ZIP Code

 

County

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ..............:0.cccceesecescsceececeerenceoeeeeesecereeerersenesarenenseneaeeneaeenee >

ae Describe Your Vehicles

What is the property? Check all that apply.
a Single-family home

O Duplex or multi-unit building

LY Condominium or cooperative

CL) Manufactured or mobile home

Q) Land

LJ Investment property

Q) Timeshare

LY other

 

Who has an interest in the property? Check one.
L) Debtor 1 only

CL) Debtor 2 only

LJ Debtor 1 and Debtor 2 only

CL} At teast one of the debtors and another

Case number (i known)

Do not deduct secured ciaims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

UL) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

NA

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

3.1. Make: Fini
Model: S00 Kt
Year: AONg _

Approximate mileage: LU, 0 O

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

NIA

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
Die, 1 only

L) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
CY Debtor 1 only

LY Debtor 2 only

C) Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

L) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ IB L479 s My000

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

page 2

 
 

Case 19-19690-RAM Doc 25 _ Filed 08/09/19 Page 6 of 37

 

 

 

 

 

Who has an interest in the property? Check one.

CI At least one of the debtors and another

C) Check if this is community property (see

Who has an interest in the property? Check one.

Debtor 1
First Name Middle Name
3.3. Make:
Model: UY Debtor 4 only
UY Debtor 2 only
Year:
C) Debtor 1 and Debtor 2 only
Approximate mileage:
Other information:
Al | #t instructions)
t
3.4. Make:
Model: C) Debtor 4 only
UY Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

nf

 

 

t

UY Debtor 1 and Debtor 2 only
CJ At least one of the debtors and another

Ld Check if this is community property (see
instructions)

Case number (i known)

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

YY Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
No

QC) Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

N\A

If you own or have more than one, list here:

4.2, Make:
Model:
Year:

Other information:

 

 

Nia

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.

UY Debtor 4 only

CY Debtor 2 only

UY Debtor 1 and Debtor 2 only

C) At teast one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CI Debtor 1 only

UY Debtor 2 only

CY Debtor 4 and Debtor 2 only

CJ At teast one of the debtors and another

LJ Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 3

oS

 

 
 

Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 7 of 37

Debtor 1 Case number (# known)
First Name Middle Name Last Name

| Part 3: | Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

 

Current value of the
portion you own?
Do not deduct secured claims

 

 

 

or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
DD Ne pep Poe apple app gee Type ptt -elady o-
Bree. Describe......... cout ab jable, fi lagen meni ‘fetohon ‘land, $ T LOO
. rable, \oa. / { Yoshar, tate
7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
aio

LI Yes. Describe.......... : / 5

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
LYNo

 

UL) Yes. Describe.......... | $

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
we and kayaks; carpentry tools; musical instruments
lo

UL) Yes. Describe.......... $

 

 

10. Firearms
tw rifles, shotguns, ammunition, and related equipment

 

 

LI Yes. Describe.......... | $

 

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

Q
Wes. Describe.......... ans, OL Nea ATT, 8 Socks,  Underuene. | $ 5 yO

 

 

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

a, Describe... CO Te lage ragal et, engagement nngs , $ MYO

13.Non-farm animals

a Dogs, cats, birds, horses
No

CL) Yes. Describe........... $

 

14. Any other personal and household items you did not already list, including any health aids you did not list

 

 

Yes, Give spect l
ee Ce

information. ............. } Cc b OF }

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ by { ( Of { )
for Part 3. Write that mumber here 2.2.0.0... ccccccesccsssesssssssessssesssasensssecesssesssssssstuseessnecsansesessssettsusssssusesssnecarsuectssnussessinecesseseeeens >

 

 

 

Official Form 106A/B Schedule A/B: Property page 4
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 8 of 37

 

 

 

Debtor 1 Case number (if known)
First Name Middle Name Last Name
ER vescrne Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.

16.Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

QO

VOS ooo eeeeeeeee Institution name:

17.1. Checking account: wells arg O
17.2. Checking account:

17.3, Savings account: Welk ta GO

17.4. Savings account:

loo

 

 

17.5. Certificates of deposit:

 

17.6. Other financial account:

 

17.7. Other financial account:

 

17.8. Other financial account:

 

oF fF FfF§ F F F FH HF

17.9. Other financial account:

 

18. Bonds, mutual funds, or publicly traded stocks
“~ Bond funds, investment accounts with brokerage firms, money market accounts
No

O VOSS occ Institution or issuer name:

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
a partnership, and joint venture
N

 

 

oO Name of entity: % of ownership:
CD Yes. Give specific 0% %
information about 0
theM.......... cee 0% %
0% %

 

Official Form 106A/B Schedule A/B: Property page 5

 
 

Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 9 of 37

Debtor 1 Case number (i mown),
First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Oe

O) Yes. Give specific Issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

them... $
$
$
21. Retirement or pension accounts
~ Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No
C) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22.Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
ae.
OS oe eeceeeeeees Institution name or individual:
Electric: EP L $ sy 4
Gas: pA $
Heating oil: Ni $.
Security deposit on rental unit: At +4PE- Centr a. Lave $ A0O

 

Prepaid rent: Ce
Telephone: \} f\
Water: NJ LA
Rented furniture: flarcons
NiK

Other.

 

 

nays (A contract for a periodic payment of money to you, either for life or for a number of years)
No

OD Yes. cee Issuer name and description:

 

 

Official Form 106A/B Schedule A/B: Property

page 6

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 10 of 37

Debtor 1 Case number (i known)
First Name Middle Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 USC. §§ 530(b)(1), 529A(b), and 529(b)(1).

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers

nl for your benefit
No

CI Yes. Give specific ‘
information about them.... .§$

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Exapiples: Internet domain names, websites, proceeds from royalties and licensing agreements

No

CI Yes. Give specific
information about them.... $.

 

 

 

27. Licenses, franchises, and other general intangibles
~ Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No

 

CI Yes. Give specific i
information about them... : §$

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

Kio

QO) Yes. Give specific information :
about them, including whether
you already filed the returns : State:
and the tax years. .......

 

Federal:

 

  

Local:

 

29. Family support
a Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No

 

Q) Yes. Give specific information..............

 

 

i Alimony: $
Maintenance: $
: Support: $
: Divorce settlement: $
Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else

wc

C) Yes. Give specific information............... s
i :
:

Official Form 106A/B Schedule A/B: Property page 7

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 11 of 37

Debtor 1 Case number (i known)
First Name Middle Name Last Name

 

31. Interests in insurance policies
~~ Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance
No

(Cl Yes. Name the insurance company

. v Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died

If you age the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
a because someone has died.
No

 

U) Yes. Give specific information..............

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
ie Accidents, employment disputes, insurance claims, or rights to sue
No

 

(J Yes. Describe each claim. ..................-

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

eo claims
No

CI Yes. Describe each claim. .... eee i

 

35. Any financial assets you did not already list

 

 

No
CI) Yes. Give specific information............ :

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached [A
for Part 4. Write that mumber Were ...............c:cccccccccccsssssssssssesesscssnecssuscesssscsssecessssnecesuestesusssisescerscccssssssesnussssssecesneetecensssesuusessneesarees »> $

 

 

pares: | Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. ee or have any legal or equitable interest in any business-related property?
o. Go to Part 6.
U) Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions.
ee receivable or commissions you already earned
No .
CI) Yes. Deseribe.......
5

39. Office equipment, furnishings, and supplies
Exampfes: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

No awe ee eee er
C) Yes. Describe....... $

 

Official Form 106A/B Schedule A/B: Property page 8

 
 

Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 12 of 37

Debtor 1 Case number (i known}
First Name Middle Name Last Name

 

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

No geewesovercves pes peas. La wee eevee es a weve ae
() Yes. Describe....... 5

 

 

41. Inventory
No

QO) Yes. Describe....... . '

42. oo in partnerships or joint ventures
No

C) Yes. Describe.......

 

 

 

 

Name of entity: % of ownership:
% $
% $
% $.

 

43. eal lists, mailing lists, or other compilations
No
( Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

UO) No
U) Yes. Describe........

 

 

 

 

 

Oe nee teiated property you did not already list
lo

C) Yes. Give specific
information .........

 

 

 

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ O/n- O

for Part 5. Write that number here ooo... ccc seccssseccccccssssuescssvecssussessssessssecessecsseseesessvssssneesssnresssiesessueseseeerssisessssecenseesssaees >

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmiand, list it in Part 1.

 

46. wee or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
(J Yes. Go to tine 47.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions.
47. Farm animais
Examples: Livestock, poultry, farm-raised fish
No
CD Ves occ!
$s

 

Official Form 106A/B Schedule A/B: Property page 9
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 13 of 37

« Debtor 1 Case number (i known)
First Name Middle Name Last Name

48. Crops—either growing or harvested

No

QO) Yes. Give specific
information. ............ $

 

 

 

 

 

49. t. and fishing equipment, implements, machinery, fixtures, and tools of trade
No

 

 

 

 

50. Farm and fishing supplies, chemicals, and feed

A Wo

CB Ve ieee [ : oe . “4

 

 

51. Any farm- and commercial fishing-related property you did not already list
No

C) Yes. Give specific
information. ............ $

 

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ Ad 7T oO
for Part 6. Write that mumber Were oo... ecco cece eecssesseseecessnessesonssssassnnesseessnissenssivessesensseessssateeseesiiessestungestessieneescesuueeeetanevess >

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?

on Season tickets, country club membership
No : ,

:
C) Yes. Give specific
information.............. i

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ooo... ee cceceeecseeeeeeeeeseeneneeeeseeeees > s Wj O

ee st the Totals of Each Part of this Form

55.Part 1: Total real estate, Lime 2 0... ccc cececccecccssseccssesssssssessesssessuesscssevsssesevessuesssesesssuessnevenssavsssvssuequvessuesuesevssusseauerirssutssiveneesaeesstesuses > $ O

56. Part 2: Total vehicles, line 5 $ A lo 000
57.Part 3: Total personal and household items, line 15 $ [ oO 200

58. Part 4: Total financial assets, line 36 $ 4] { Le

 

 

 

 

59. Part 5: Total business-related property, line 45 $ O
60. Part 6: Total farm- and fishing-related property, line 52 $ O
61.Part 7: Total other property not listed, line 54 +S O

 

62. Total personal property. Add lines 56 through 61. ...............0. $ 443, a ( a, Copy personal property total > *# l )

63. Total of all property on Schedule AJB. Add line 55 + line 62.00 cee eeenerensececesseeeeeeanesesaeesssteeesnenaetenesseona $_* Ae »< it , )

Official Form 106A/B Schedule A/B: Property page 10

 

 

 

 

 

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 14 of 37

Fill in this information to identify your case:

Debtor 1 [ NM Khe {

 

 

 

 

st Name Middle Name Last “ey
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name .
United States Bankruptcy Court for the: Jiao vistict of 4 tot ie
case number _/4- 1790 U) Check if this is an
(If known)

amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

| Part 4: | Identify the Property You Claim as Exempt

 

 

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

oe are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief ff
description: bo f $ Os
Line from C) 100% of fair market value, up to

Schedule A/B: any applicable statutory limit

Brief
description: Rif $ Os

CI 100% of fair market value, up to

 

 

 

 

Line from : a
Schedule A/B: any applicable statutory limit
Brief 0 Ht

description: $ Os

Line from CJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subjegt to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

No
Q , you acquire the property covered by the exemption within 1,215 days before you filed this case?
No

C) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __

 

 

 

 

 

 

 

 

 

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 15 of 37

Debtor 1 Case number (# known)
First Name Middle Name Last Name

eo Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Current value of the Amount of the exemption you claim Specific laws that allow exemption
portion you own

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy the value from Check only one box for each exemption
Schedule A/B
descript {AR $ Os
lescription:
Line from QI 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C2) 100% of fair market value, up to
Schedule A/B: ——— any applicable statutory limit
Brief
description: $ Os
Line from CI 100% of fair market value, up to
Schedule A/B: — any applicable statutory limit
Brief dD He
description: $ Os
Line from t C2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Og¢$
Line from QO 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ Lig
Line from C) 100% of fair market value, up to
Schedule A/B: — any applicable statutory limit
Brief
description: $ Os
Line from LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from () 100% of fair market value, up to
Schedule A/B:_ ——— any applicable statutory limit
Brief D In
description: t $ Og¢$
Line from C2 100% of fair market value, up to
Schedule A/B: —___ any applicable statutory limit
Brief
description: $ Ls
Line from OQ) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from LJ 100% of fair market value, up to
Schedule A/B:_ ———— any applicable statutory limit
Brief
description: $ Os
Line from LI 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt

 

 

 

 

 

 

 

 

 

 

 

 

page 2_ of __

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 16 of 37

Fill in this information to identify your case:

almuin

Firgt Name

Debtor 4

Ke.

Last Namaf’

Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Siithenrstict of SlotHia
Case number l 7- 1Vle ZO

(If known)

 

 

   

LI Check if this is an
amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

1. Do apy creditors have claims secured by your property?
No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
QO) Yes. Fill in all of the information below.

atu List All Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who owes the debt? Check one.

QC) Debtor 1 only

(2 Debtor 2 only

( Debtor 1 and Debtor 2 only

() Atleast one of the debtors and another

() Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:

Official Form 106D

 

 

 

 

Column A Column B Column C
2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately amount of claim. Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. hy, not deduct the that supports this _ portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim if any
[2.1] Describe the property that secures the claim: $ $ $
Creditq’s Name
Number Street
As of the date you file, the claim is: Check ail that apply.
QO Contingent
Q) unliquidated
City State ZIP Code Q) pisputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
QO) Debtor 1 only Q) An agreement you made (such as mortgage or secured
QC) Debtor 2 only car loan)
Q) Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic’s lien)
O) Atleast one of the debtors and another Q) Judgment lien from a lawsuit
QC) Other (including a right to offset)
QO) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number ee
[22] N A Describe the property that secures the claim: $. $ $
Creditor’s Name i
i
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
QO) unliquidated
City State ZIP Code OQ Disputed

Nature of lien. Check all that apply.

Q) An agreement you made (such as mortgage or secured
car loan)

Q Statutory lien (such as tax lien, mechanic’s lien)

Q Judgment lien from a lawsuit

QO) other (including a right to offset)

Last 4 digits of account number

OO |

Schedule D: Creditors Who Have Claims Secured by Property

 

 

 

page 1of_
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 17 of 37

Debtor 1

Case number (if known)

 

First Name Middle Name

Additional Page

by 2.4, and so forth.

 

After listing any entries on this page, number them beginning with 2.3, followed

Last Name

“Column A

 

 

Amount of claim _ Value of collateral. “Unsecured

Do not deduct the = that supports this _ portion
value of collateral. claim :

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who owes the debt? Check one.

Debtor 1 only

Debtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

O OOOO

Check if this claim relates toa
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here:

If this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

Officiat Form 106D

i | fe Describe the property that secures the claim: $ $ $
Creditor's'Ngme
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code  Unliquidated ;
O Disputed }
Who owes the debt? Check one. Nature of lien. Check all that apply. '
L} Debtor 1 only () An agreement you made (such as mortgage or secured :
QO) Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only O) Statutory lien (such as tax tien, mechanic's lien)
C) Atleast one of the debtors and another L) Judgment lien from a lawsuit
QO) Other (including a right to offset)
QO) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number —_ ee
L_| LD | f- Describe the property that secures the claim: $ $ $.
Creditor’§ Name
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
(J unliquidated
City State ZIP Code O) Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
O) Debtor 1 only O an agreement you made (such as mortgage or secured
QO) Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic's lien)
Q) At least one of the debtors and another OQ Judgment lien from a lawsuit
UO) Check if this claim relates to a U1 Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number ___ _
L_ | 'v LA Describe the property that secures the claim: $. $ $
Creditons Name
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
City State ZIP Code O) Unliquidated

O Disputed

Nature of lien. Check all that apply.

O an agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

O Judgment lien from a lawsuit

QO) other (including a right to offset)

Last 4 digits of account number ___

 

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

 

 

 

page. of__
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 18 of 37

Debtor 1 Case number (i known)
First Name Middle Name Last Name

icin List Others to Be Notified for a Debt That You Already Listed

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, Ifa collection

' agency Is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, If
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

[| A+ On which line in Part 1 did you enter the creditor?

Name Last 4 digits ofaccountnumber_

 

 

Number Street

 

 

 

City State ZIP Code
[| fO ft On which line in Part 1 did you enter the creditor?
Narhe Last 4 digits ofaccountnumber—

 

Number Street

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City State ZIP Code
VB On which line in Part 1 did you enter the creditor?
Narhe Last4 digits ofaccountnumber
Number Street
City State ZIP Code

[| Ay. On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

[| Wy f- On which line in Part 1 did you enter the creditor?
J
Name Last 4 digits ofaccount number
Number Street
City State ZIP Code

[| Nit On which line in Part 1 did you enter the creditor?
Namé Last 4 digits of account number
Number Street
City State ZIP Code

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page__—of

 
Case 19-19690-RAM Doc 25 _ Filed 08/09/19 Page 19 of 37

Fillin this informztion to identify your case:

Debtor 1 LVN, {7

Name *Last voy

  

Debtor 2

 

(Spouse, if filing) First Name Sg Name Last Name .
[Ubistrict of fat i
Case number (9- [GL O Check if this is an

(If known) amended filing

United States Bankruptcy Court for the:

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are fisted in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is

needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Ea List All of Your PRIORITY Unsecured Claims

1. bo pi erator have priority unsecured claims against you?
No. Go to Part 2.
UI ves.
2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and

nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. if you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

Total claim Priority Nonpriority

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

amount amount
21
Last 4 digits ofaccountnumber § $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
City State ZIP Code C1 Contingent
. QO Unliquidated
Who incurred the debt? Check one. oO Disputed
C) Debtor 1 only
C1 Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only QC) Domestic support obligations
Atleast one of the debtors and another Q) Taxes and certain other debts you owe the government
C) Check if this claim is fora community debt QO) Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
OI No Q) Other. Specify
Q Yes
2 | Last 4 digits ofaccountnumber ss og $ $
Priority Creditors Name
When was the debt incurred?
Number Street :
As of the date you file, the claim is: Check all that apply
Q Contingent
City State ZIP Code Q) unliquidated
Who incurred the debt? Check one. QI Disputed

Q) Debtor 1 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

Q) Atleast one of the debtors and another

Q) Check if this claim is for a community debt

Type of PRIORITY unsecured claim:
C2 Domestic support obligations
Q) taxes and certain other debts you owe the government

Q) Claims for death or personal injury while you were

 

intoxicated
Is the claim subject to offset? Q) other. Specify
QO) No
Q) Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of

 
Debtor 1

Case 19-19690-RAM Doc 25 Filed 08/Q9/19 Page 20 of 37

é number (if

 

First Name Middie Name

fim Your PRIORITY Unsecured Claims — Continuation Page

Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

QC) Debtor 1 only

Q) Debtor 2 only

QC) Debtor 1 and Debtor 2 only

() At teast one of the debtors and another

QC) Check if this claim is for a community debt

Is the claim subject to offset?

C2 No
Q) ves

Official Form 106E/F

 

QO Disputed

Type of PRIORITY unsecured claim:

CO Domestic support obligations
Q) taxes and certain other debts you owe the government
CJ claims for death or personal injury while you were

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. —_Totalclaim _ Priority” Nonpriority
‘ amount amount
Last4 digits ofaccountnumber si, $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
City State ‘ZIP Code QO) unliquidated
Q Disputed
Who incurred the debt? Check one.
C2 Debtor 1 only Type of PRIORITY unsecured ciaim:
U1 Debtor 2 only QC) Domestic support obligations
() Debtor 1 and Debtor 2 only .
Q) Taxes and certain other debts you owe the government
() Atleast one of the debtors and another . _ :
Q) claims for death or personal injury while you were
Q Check if this claim is for a community debt intoxicated
OQ) other. Specify
Is the claim subject to offset?
QO) No
QO) Yes
: Last4 digits ofaccountnumber si $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code OQ) unliquidated
QO Disputed
Who incurred the debt? Check one.
Q) Debtor 1 only Type of PRIORITY unsecured claim:
U1 Debtor 2 only CI Domestic support obligations
OQ) Debtor 1 and Debtor 2 only .
() Taxes and certain other debts you owe the government
() Atleast one of the debtors and another : . .
CQ] claims for death or personal injury while you were
Q) Check if this claim is for a community debt intoxicated
C) Other. Specify
Is the claim subject to offset?
QO) No
OQ) Yes
: Last4digits ofaccountnumber— sé; $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code ) unliquidated

 

 

intoxicated
C} other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

page of

 
Debtor 1

Case 19-19690-RAM Doc 25 Filed 08/99/19 Page 21 of 37

ase number

 

First Name Middle Name Last Name

a List All of Your NONPRIORITY Unsecured Claims

 

 

3. ag creators have nonpriority unsecured claims against you?

No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

claims fill out the Continuation Page of Part 2.

 

 

 

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. {f a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

 

 

Total claim
fs | Last 4 digits ofaccountnumber_
Nonpriority Creditors Name $
When was the debt incurred?
Number Street
City State ZIP Code As of the date you file, the claim is: Check all that apply.
QO Contingent
Who incurred the debt? Check one. QC) Unliquidated
O) Debtor 4 only O Disputed
C) Debtor 2 only
U) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Atleast one of the debtors and another OQ Student loans
OC Check if this claim is for a community debt O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? C) Debts to pension or profit-sharing plans, and other similar debts
C) No CJ Other. Specify
QO) Yes
2 Last 4digits of accountnumber $
Nonpriority Creditor’s Name When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code oO Contingent
Who incurred the debt? Check one. Q) unliquidated
CY Debtor 4 only u Disputed
Cd Debtor 2 only .
O] Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Atleast one of the debtors and another (J Student loans
. . QO Obligations arising out of a separation agreement or divorce
QO) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? QC) Debts to pension or profit-sharing plans, and other similar debts
QO No CD Other. Specify
QO) Yes
3 Last 4 digits of account number ___ _
Nonpriority Creditor’s Name $.

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

C) Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

(C) At feast one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?
UO No
O) Yes

Official Form 106E/F

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q) unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts
C) other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims page of

 

 
 

Case 19-19690-RAM Doc25_ Filed 08/0 9/19 age 22 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 ase Number (i,
First Name Middle Name Last Name
Your NONPRIORITY Unsecured Claims — Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
w/t Last 4 digits ofaccountnumber_ $
Nonpriérity Creditor’s Name
When was the debt incurred?
Numb: Street
wmver re As of the date you file, the claim is: Check all that apply.
City State ZIP Code C3 Contingent
Q) Uniiquidated
Who incurred the debt? Check one. Q Disputed
C3 Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
Q) Debtor 1 and Debtor 2 only Q Student loans
C1 Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report as priority claims _
C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? QC) other. Specify
(No
QO) Yes
Last 4 digits ofaccountnumber $
Nonpriority Creditors Name
When was the debt incurred?
Numb Street
mver me As of the date you file, the claim is: Check all that apply.
City State ZIP Code C Contingent
O) unliquidated
Who incurred the debt? Check one. Q Disputed

Q) Debtor 1 only
QO) Debtor 2 only Type of NONPRIORITY unsecured claim:
(2 Debtor 1 and Debtor 2 only

C3 Student loans
C) Atleast one of the debtors and another

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C8 Debts to pension or profit-sharing plans, and other similar debts

Is the claim subject to offset? CD Other. Specify

O No

QO) Yes

C) Check if this claim is for a community debt

 

 

 

Last 4 digits of account number

 

Nonpriority Creditors Name
When was the debt incurred?

 

 

Numbi Street
umber ree As of the date you file, the claim is: Check all that apply.
City State ZIP Code O Contingent
QO) unliquidated
Who incurred the debt? Check one. (3 Disputed

Q) Debtor 1 only
O) Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only

CJ Student loans
(CD Atleast one of the debtors and another

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C) other. Specify
O No

QO) Yes

O) Check if this claim is for a community debt

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _of
 

 

Debtor 1

Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 23 of 37

ase number (#.

 

 

First Name

Middle Name

Last Name

Ey List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you fisted in Parts 1 or 2, list the
additional creditors here. ff you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Ut

 

 

 

 

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name 7
Line___ of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street C1 Part 2: Creditors with Nonpriority Unsecured Ciaims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street C1 Part 2: Creditors with Nonpriority Unsecured
Claims
7 Last4 digits ofaccountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ Le
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street Q Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
x On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street . . .
OQ) Part 2: Creditors with Nonpriority Unsecured
Claims
Giy Ste FIP Code Last 4 digits of account number ___ ee

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page of
Case 19-19690-RAM Doc 25 Filed 08/99/19 Page 24 of 37

Debtor 1 number (7 own!

 

 

First Name Middle Name Last Name

Eo Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claim

Total claims 6a. Domestic support obligations 6a. $
from Part 4 6b. Taxes and certain other debts you owe the
government 6b. $

6c. Claims for death or personal injury while you were
intoxicated 6c.

6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. +4 $

 

DPW |G [Dig

 

 

 

6e. Total. Add lines 6a through 6d. 6e.
$
Total claim
Total claims 6f Student loans 6f. 5 7S, Ve /

from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority O
claims 6g. $
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. g¢ O
6i. Other. Add all other nonpriority unsecured claims. QO
Write that amount here. 6. +s

 

6j. Total. Add lines 6f through 6i. 6j.

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page of.
 

Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 25 of 37

 

Fill in this information to identify your case:

Debtor . MAL) KE
7

Debtor 2
(Spouse If filing) First Name Middle Name LastName ~

United States Bankruptcy Court for the: ivkeun! District of Little ae
Case number [9- L2b GO

(If known) CJ Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. we have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AB: Property (Officiat Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
2.1
alla
N&éme ]

Number Street

 

 

City State ZIP Code

2.2

 

Name

 

Number Street

 

City State ZIP Code
2.3

 

Name

 

Number Street

 

City State ZIP Code
2.4

 

Name

 

Number Street

 

City State ZIP Code
2.5

Name

 

 

Number Street

 

City State ZIP Code

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases pagelof_
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 26 of 37

Debtor 1 Case number (if known).
First Name Middle Name Last Name

P| Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease What the contract or lease is for

22 it

Nam@

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

 

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

 

Name

 

Number Street

 

City State ZIP Code

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page. of_
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 27 of 37

Fill in this information to identify your case:

1) g
Debtor 1 , °
fe Name Middle Name "Last Nagle

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for ne ely iV District of tl a (LL
Case number / h [ Uo GO

(If known)

 

 

 

C) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

4. Ce any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
No

Qi Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
aoe Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.
Q) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
No

Q) Yes. In which community state or territory did you live? . Fillin the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

 

Check all schedules that apply:

3.1 Vit 4

Name }

 

 

 

Schedule D, line
QO) Schedule E/F, line

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Number Street UI Schedule G, line
City State ZIP Code
3.2
U2 Schedule D, line
Name —_
QO) Schedule E/F, line
Number Street U Schedule G, line
City State ZIP Code
3.3
Q Schedule D, line
Name
QO) Schedule E/F,line
Number Street CU) Schedule G, line
City State ZIP Code

 

Official Form 106H Schedule H: Your Codebtors page 1of_
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 28 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Case number (if known)
First Name Middle Name Last Name
F Additional Page to List More Codebtors
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
a] Check all schedules that apply:
=] Nie
i (J Schedule D, line
Jame
(J Schedule E/F, tine
Number Street QC) Schedule G, line
City State ZIP Code
N () Schedule D, line
ame
() Schedule E/F, line
Number Street QO) ScheduleG, line
City State __ ZIP Code
|
Ni 2 Schedule D, line
ame a
(J Schedule E/F, line
Number Street 2 Schedule G, line
City State ZIP Code
x () Schedule D, line
ame eo
() Schedule E/F, line
Number Street () Schedule G, line
] City State ZIP Code
Ni (3 Schedule D, fine
ame oo
(J Schedule E/F, line
Number Street QO) Schedule G, line
b] City State ZIP Code
xi (2 Schedule D, line
ame ——
() Schedule E/F, tine
Number Street C) Schedule G, line
City State ZIP Code
| x (2 Schedule D, line
ame
2 Schedule E/F, line
Number Street Q Schedule G, line
6] City State ZIP Code
‘i (2 Schedule D, line
ame
QO) Schedule E/F, line
Number Street CI Schedule G, line
City State ZIP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page of__—
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 29 of 37

Fill in this information to identify your case:

Debtor 1 Ly Ag Mm uw

Fi/st Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: Jthaard District of Anata
Case number / ql %lo 7O Check if this is:

(If known)
UC) An amended filing

LJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 MM/ DD? YYYY
Schedule I: Your Income 42/45

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

j Part 1: | Describe Employment

1. Fillin your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

 

 

If you have more than one job,

attach a separate page with
information about additional Employment status Employed OQ) Employed
employers. OQ Not employed O Not employed

Include part-time, seasonal, or

self-employed work. f} ;
Occupation A ttf ve

Occupation may include student
or homemaker, if it applies. }

Employer’s name

 

Employer's address &BS \V i) ath Gh

Number Street Number Street

 

 

Hani FL 6310-7

City State ZIP Code City State ZIP Code

How long employed there? Amor
ae ove Details About Monthly Income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

\f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ | /) Of ) $

3. Estimate and list monthly overtime pay. 3. +$ ( ) + $
4. Calculate gross income. Add line 2 + line 3. 4. $ L A00 $

Official Form 1061 Schedule 1: Your Income page 1

 

 

 

 

 

 

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 30 of 37

Debtor 1 Case number (if known),
First Name Middle Name Last Name

 

For Debtor 1 For Debtor 2 or
on-filing spouse

Copy lime 4 Were... cee eccecececcessessneseesnesneesecceesecaeresseesesseesesaeesesseseceseevesseeess >4 an (0D $

5. List all payroll deductions:

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ / 50 $
5b. Mandatory contributions for retirement plans 5b. §$ $
5c. Voluntary contributions for retirement plans 5c. §$ © $
5d. Required repayments of retirement fund loans 5d. =$ CO $.
5e. Insurance 5c. $ ICD $
5f. Domestic support obligations 5f. g$ © $.
5g. Union dues 5g. sO $
5h. Other deductions. Specify: 5h. +$ 2 + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c+5d+5e+5f+5g+5h. 6. §$ Z 5D $

 

7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ ASD $

8. List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $ oC $
monthly net income. 8a. aD
8b. Interest and dividends 8b. §$ $

8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8c.

8d. Unemployment compensation 8d.

8e. Social Security Be. §$ £D> $

8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nutrition Assistance Program) or housing subsidies. O
Specify: nn $.
8g. Pension or retirement income 8g. §$ O $
8h. Other monthly income. Specify: 8h. +3 O +$
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9. $ 1) $
10.Calculate monthly income. Add line 7 + line 9. f
ony . sf +| § 2 = _/,
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. 7
11. State all other regular contributions to the expenses that you list in Schedule J.
tnclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11.4% $ 0
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. S
Combined

monthly income
13. Da expect an increase or decrease within the year after you file this form?
No

 

Q) Yes. Explain:

 

 

 

Official Form 1061 Schedule !: Your Income page 2

 
Case 19-19690-RAM ‘Doc 25 Filed 08/09/19 Page 31 of 37

Fill in this information to identify your case:

 

Debtor 1 by KS M 0 ef

WstName Middie Name Last Nome Check if this is:

Debtor 2 i
(Spouse, if filing) First Name Middle Name Last Name QO An amended filing

, OA supplement showing postpetition chapter 13
United States Bankruptcy Court for wre a District of Ho (Qv g

expenses as of the following date:
nom et i Y- 19 “GP MM /DD/ YYYY

 

 

Official Form 106J
Schedule J: Your Expenses 12/45

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household
1. ee joint case?
No. Go to line 2.

LJ) Yes. Does Debtor 2 live ina separate household?

 

 

 

 

 

 

 

 

 

UI No
() Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? Ko
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and () Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent...........0.e O
N
Do not state the dependents’ QO °
names. Yes
UL No
O) Yes
LI No
QO) Yes
3 No
QO Yes
3 No
O) Yes
3. Do your expenses include EK

expenses of people other than
yourself and your dependents? QO) Yes

ae Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule [: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and | )
any rent for the ground or lot. 4. $

If not included in line 4:

 

4a. Real estate taxes 4a. § O .
4b. Property, homeowner's, or renter’s insurance 4b. $ D L
4c. Home maintenance, repair, and upkeep expenses 4c. $

4d. Homeowner's association or condominium dues 4d. $ 4

Official Form 106J Schedule J: Your Expenses page 1

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 32 of 37

 

 

Debtor 1 Case number (i known)
First Name Middle Name Last Name
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5. “sO
6. Utilities:

6a. Electricity, heat, natural gas 6a. §$ 83
6b. Water, sewer, garbage collection 6b. $ é oO

6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $. us
6d. Other. Specify: 6d = §$

7. Food and housekeeping supplies 7. $ / 6O

8. Childcare and children’s education costs 8. $ OQ

9. Clothing, laundry, and dry cleaning 9. $ ZO
10. Personal care products and services 10. $ S O

11. Medical and dental expenses 11. $ <4 C#C}O

12. Transportation. Include gas, maintenance, bus or train fare. $ AOD
Do not include car payments. 12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. 0

14. Charitable contributions and religious donations 14. $ O

15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ O
15b. Health insurance 1b.  §$ Oo ;
15c. Vehicle insurance 15c. § / Ho

A

15d. Other insurance. Specify: 15d.

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ CO

 

17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a. § (23¢ ’

17b. Car payments for Vehicle 2 17. $ ©

17c. Other. Specify: 17c. sO
17d. Other. Specify: 17d. $s O

18. Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule J, Your income (Official Form 1061). 18. 5 ( )

19. Other payments you make to support others who do not live with you.
Specify: 19. §

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a. Mortgages on other property 20a. $
20b. Real estate taxes 20b.  §.
20c. Property, homeowner's, or renter’s insurance 20c. §$ & LO

20d. Maintenance, repair, and upkeep expenses 20d. $f ——__
20e. Homeowner's association or condominium dues 20e. §$

Officiat Form 106J Schedule J: Your Expenses page 2

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 33 of 37

Debtor 1 Case number (# mown)

First Name Middle Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
“ payment to increase or decrease because of a modification to the terms of your mortgage?
No

C) Yes. Explain here:

Official Form 106J Schedule J: Your Expenses

21.

22a.

22b.

22c.

23a.

23b.

236.

 

 

 

 

 

 

page 3

 

 

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 34 of 37

Fill in this information to identify your case:

Debtor 1 LASTN, Li Mi

Name Middle Name 3 Nan Check if this is:

Debtor2 CL) An amended filing

(Spouse, if filing) First Name Middje Name LastName =|. Q

A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Sab fhetthrecs of ntl Mia expenses as of the following date: P
Case number /9- 0 FO

(If known)

 

MM / DD/ YYYY

 

 

Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2 12/15

Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. if Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. lf more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

oe Describe Your Household

1. Y.. Debtor 1 maintain separate households?

 

 

No. Do not complete this form.

 

 

 

 

 

 

 

 

CO Yes
2. Do you have dependents?
y pe Be Dependent’s relationship to Dependent’s Does dependent live

Do not fist Debtor 1 but list all Q) Yes. Fill out this information for Debtor 2: age with you?

other dependents of Debtor 2 each dependent...................06

regardless of whether listed as a QO) No

dependent of Debtor 1 on QO ves

Schedule J. a

N

Do not state the dependents’ QO ve

names. es
OQ) No
QO) Yes
Q No
QC) Yes
Q No
OU Yes

3. Do your expenses include CIKie
expenses of people other than

yourself, your dependents, and O) Yes
Debtor 1?

ara Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule J: Your income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. include first mortgage payments and O
any rent for the ground or lot. 4. $

If not included in line 4:

4a. Real estate taxes 4a. §$ O
4b. Property, homeowner's, or renter’s insurance 4b. $ O
4c. Home maintenance, repair, and upkeep expenses Ac. 5. e
4d. Homeowner's association or condominium dues 4d. $

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page 1

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 35 of 37

Debtor 1

10.
11.

12.

13.

14.

16.

20.

 

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your income (Official Form 106l).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2

Case number (i known)

6a.

6b.

6c.

6d.

10.

11.

12.

13.

14.

15a.
15b.
15c.

15d.

16.

17a.

17b.

17c.

17d.

18.

19.

20a.
20b.
20c.
20d.

20e.

Your expenses

s 63
s O

¢_ / te

;

$ (28 5

5 oO

5 ©

3 O

3 O
O

$

page 2

 
Case 19-19690-RAM Doc 25 Filed 08/09/19 Page 36 of 37

Debtor 1 Case number (i mown)
First Narne Middle Name Last Name

21. Other. Specify: OQ 21.

22. Your monthly expenses. Add lines 5 through 21.
The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the

total expenses for Debtor 1 and Debtor 2. 22.

23. Line not used on this form.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
a payment to increase or decrease because of a modification to the terms of your mortgage?
No

QC) Yes. — Explain here:

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2

 

 

SS 77

 

 

page 3

 
Case 19-19690-RAM Doc 25 Filed 08/09/19

Fill in this information to identify your case:

 

Debtor 1 Oly [ {1 ‘ht

/* Name Middle Name Last Name /

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Souther District of Florida

Case number Vitke (707

(if known)

 

Official Form 106Dec

 

Page 37 of 37

FILED-USBC; FLS-HIA
"19 AUG 9 pM3:08

Q) Check if this is an
amended filing

Declaration About an Individual Debtor’s Schedules 42115

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

“ or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
No

Q Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they are true and correct.

“Gite GY x

 

Sign re of Debtor 1 Signature of Debtor 2

Date
"° aM] DD LA MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules

 

 
